T23-0223
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE


CHRISTOPHER SOREY,           )
                             )
    PLAINTIFF                )
                             )
V.                           )
                             )
WILSON COUNTY BOOK REVIEW    )
COMMITTEE, a/k/a WILSON      )                           No.
COUNTY DISTRICT BOOK APPEAL )
COMMITTEE, and WILSON COUNTY )
BOARD OF EDUCATION a/k/a     )
WILSON COUNTY SCHOOL BOARD )
                             )
    DEFENDANTS.              )

                                       NOTICE OF REMOVAL


           Come now the Defendants, Wilson County District Book Appeal and Wilson County

Board of Education, and would state and show to the Court as follows:

           1. On February 14, 2023, an action was commenced against the Defendants in the

              Chancery Court of Wilson County, Tennessee entitled Christopher Storey v. Wilson

              County Book Review Committee a/k/a Wilson County District Book Appeal

              Committee, and Wilson County Board of Education a/k/a Wilson County School

              Board, Docket No. 2023-CV-37.

           2. In the Plaintiff’s Complaint, the Plaintiff alleges violations of his civil rights pursuant

              to 42 U.S.C. § 1983.

           3. The above described action is one in which this Court has original jurisdiction under

              the provisions of Title 42 U.S.C. §1983 and is one which can be removed to this




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          Court by the Defendants pursuant to the provisions of Title 28 U.S.C. §1441, in that it

          is a civil action that raises a federal claim.

      4. Written notice of filing of this Notice of Removal will be given to the Plaintiff

          promptly after the filing of the Notice as required by law.

      5. A true and correct copy of this Notice of Removal will be filed with the clerk for the

          Chancery Court of Wilson County, Tennessee promptly after the filing of this Notice

          of Removal, as required by law.

      6. Attached to this Notice of Removal and incorporated by reference are true and correct

          copies of all process and pleadings filed in the State Court action.



      WHEREFORE, the Defendants pray that the above named action now pending against

them in the Chancery Court of Wilson County, Tennessee be removed therefrom to this

Honorable Court.

                                                       Respectfully submitted,
                                                       SELLERS, CRAIG, & HAYDEN, INC.

                                              By:      s/Christopher C. Hayden
                                                       Christopher C. Hayden (#028220)
                                                       Attorney for Defendants
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                                       CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of the foregoing document was forwarded by
electronic means via the Court’s electronic filing system.


                                                         s/ Christopher C. Hayden
                                                         SELLERS, CRAIG & HAYDEN, INC.

Date:           March 1, 2023


PERSONS SERVED:

Daniel Horwitz
Lindsay Smith
Melissa Dix
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4016 Westlawn Drive
Nashville, TN 37209




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